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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:06CR61
                                             )
              Plaintiff,                     )
                                             )                   ORDER
              vs.                            )
                                             )
ARMANDO RODRIGUEZ,                           )
                                             )
              Defendant.                     )

       IT IS ORDERED:

       Trial in this matter is scheduled to begin on Tuesday, June 27, 2006, commencing

at 9:00 a.m., or as soon thereafter as the same may be tried, before District Judge Laurie

Smith Camp, in Courtroom No. 2, Third Floor, Roman L. Hruska Courthouse, 111 S. 18th

Plaza, Omaha, Nebraska. A Pretrial Conference, beginning at 8:30 a.m., will be held in

chambers prior to the start of trial.

       Counsel is advised that street clothes must be provided for the defendant in any

trial proceedings.



       DATED this 23rd day of June, 2006.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
